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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

  ___________________________________
                                           §
  In re                                    §      Chapter 7
                                           §
  ARTIUSID, INC.                           §      Case No. 23-11007
                                           §
              DEBTORS.                     §
  ___________________________________

                       NOTICE OF WITHDRAWAL OF APPEARANCE
                                 (Relates to ECF No. 76)

          PLEASE TAKE NOTICE that Emma P. Myles hereby withdraws her notice of

  appearance as counsel for creditor Collaborative Vision, Inc. (“Collaborative Vision”), as

  previously filed at ECF Doc. 76.


                                           Respectfully submitted,

                                           COKINOS | YOUNG

                                           By: /s/ Emma P. Myles
                                              CRAIG E. POWER
                                              State Bar No. 16210500
                                              cpower@cokinoslaw.com
                                              REAGAN H. “TRES” GIBBS, III
                                              State Bar No: 24083068
                                              tgibbs@cokinoslaw.com
                                              EMMA P. MYLES
                                              Texas Bar No: 24137075
                                              emyles@cokinoslaw.com
                                              1221 Lamar Street, 16th Floor
                                              Houston, Texas 77010-3039
                                              Tel.: (713) 535-5500
                                              Fax: (713) 535-5533




  NOTICE OF WITHDRAW                                                                  PAGE 1
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 22, 2024, a true and correct copy of the foregoing Notice
  of Appearance and Request for Service of Papers was served on all parties authorized to receive
  notice through the Court’s Electronic Filing system in this case.

                                                  /s/ Emma P. Myles
                                              EMMA P. MYLES




  NOTICE OF WITHDRAW                                                                        PAGE 2
